
702 S.E.2d 505 (2010)
STATE of North Carolina
v.
Michael Wayne MABE.
No. 299P10.
Supreme Court of North Carolina.
October 7, 2010.
Richard Bradford, Assistant Attorney General, for State of North Carolina.
Michael Wayne Mabe, pro se.

ORDER
Upon consideration of the petition filed on the 22nd of July 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 7th of October 2010."
